                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        V.                                          Case No. 4: 16 CR 00348 GAF

 FRANCISCO A. SHERMAN,

                                Defendant.

                                      PLEA AGREEMENT

       Pursuant to Rule l l(c)(l)(A) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1. The Parties. The parties to this agreement are the United States Attorney's Office for

the Western District of Missouri (otherwise referred to as "the Government" or "the United

States"), represented by Jefferson Sessions, United States Attorney General, and Sirena Miller

Wissler, Special Attorney to the United States Attorney General, and the defendant, FRANCISCO

SHERMAN ("the defendant"), represented by David H. Johnson.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attorney for the Western District of Missouri, and that it does not bind any other

federal , state, or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

       2. Defendant's Guilty Plea. The defendant agrees to and hereby does plead guilty to

Count Two of the Indictment now charging the defendant with violations of 18 U.S .C. §§ 371 and

545 and 21 U.S.C. § 331(c) and 333(a)(2), Conspiracy to Violate the Food, Drug, and Cosmetics

Act.

       By entering into this plea agreement, the defendant admits that he knowingly committed




          Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 1 of 15
this offense, and is in fact guilty of this offense.

        3.    Factual Basis for Guilty Plea.       The parties agree that the facts constituting the

offense to which the defendant is pleading guilty are as follows:

Background

        John C. VERSTRAETE is a Doctor of Osteopathy, duly licensed by the Missouri Board
of Healing Arts under license number 111192, and he was also licensed by the Missouri Bureau
of Narcotics and Dangerous Drugs under license number 23088. VERSTRAETE was registered
as a practitioner with the Drug Enforcement Administration to prescribe, administer, and
dispense controlled substances in Schedules II, IIN, III, IIIN, IV, and V under the provisions of
21 U.S.C. §§ 822 and 823 , and 21 C.F.R. part 1301. DEA issued VERSTRAETE registration
number ------884 at the business address of 3215 Main Street, Unit 1OOB, Kansas City, Missouri
64111. VERSTRAETE's DEA registration does not authorize him to import controlled
substances of any kind.

         VERSTRAETE owned and operated three legal entities at 3215 Main Street, Unit 1OOB,
Kansas City, Missouri 64111 . The first was the House of Elan Medical Spa, LLC. The second
was the primary medical practice entity, Plaza Physicians Group. The third entity was Mid-
America Infectious Disease Consultants, through which VERSTRAETE conducted some of his
activities with AIDS patients.

         At all times relevant to the charges herein, defendant FRANCISCO SHERMAN
("SHERMAN") served as a member ofVERSTRAETE's office staff. Among SHERMAN'S
duties, he purchased drugs from overseas sources and made payments for the same utilizing
Western Union and/or Moneygram wire transfer services. SHERMAN also sold foreign-
sourced drugs to patients over-the-counter, and collected payments for the same.

Count 2 - Conspiracy to Violate the Food, Drug, and Cosmetics Act (FDCA)

        At the behest and direction of defendant VERSTRAETE, a member of his office staff
identified a supplier of prescription drugs and controlled substances from foreign countries.
Thereafter, multiple members of defendant VERSTRAETE' s staff, acting at his direction,
placed orders of controlled substances and other prescription drugs over the internet from
overseas supplier approximately once a month. Many of these orders were confirmed by
electronic mail ("e-mail") communications between VERSTRAETE ' s office and the overseas
suppliers seized by investigators pursuant to a search warrant for computers seized from
VERSTRAETE's office.

        Packages containing controlled substances and other prescription drugs were shipped
from overseas bearing false customs declarations often identifying the contents as "glass
objects." Among the substances imported from overseas were Nipertropin, Trenbolone, and
Stancil. These drugs were was misbranded within the meaning of: (1) 21 U.S.C. § 352(f)(l) in
that they were drugs whose labeling failed to bear adequate directions for use under 21 C.F .R

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             Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 2 of 15
§ 201.5; and (2) 21 U.S.C. § 353(b)(4)(A) in that they were prescription drugs whose label failed
to bear the symbol "Rx only" prior to dispensing. After receiving the misbranded drugs from
overseas, VERSTRAETE and members of his office staff (to include defendant SHERMAN)
delivered and proffered delivery of the misbranded drugs from foreign countries to patients for
payment. Not only was defendant SHERMAN aware that VERSTRAETE and others were
acquiring drugs from overseas, SHERMAN himself placed orders for misbranded drugs from
foreign countries. For example, on January 31, 2013, SHERMAN placed orders via electronic
mail to purchase anabolic steroids and Human Growth Hormone from foreign sources, for a total
cost of approximately $7,000.00. SHERMAN and other members ofVERSTRAETE' S office
staff were instructed not to keep paper records regarding purchases of foreign-sourced drugs.

        Defendant acknowledges that while the information set out herein may not allege exact
amounts of controlled substances for which he is accountable by virtue of his own conduct and the
conduct of co-conspirators reasonably foreseeable to him, he agrees that the amounts alleged
herein, along with other evidence in the case, constitute "relevant conduct" and should be included
in calculating his advisory sentencing range pursuant to the United States Sentencing Guidelines.

        The parties are in agreement that the quantity of Schedule III controlled substances for
which defendant SHERMAN is accountable under is virtually impossible to calculate with
prec1s1on. However, based upon the known evidence, including statements of cooperating
witnesses, documentary evidence, and seizures of physical evidence, the parties agree that based
upon his own conduct and the conduct of co-conspirators reasonably foreseeable to him, defendant
SHERMAN is accountable for more than 25,000 units of Schedule III anabolic steroids. When
converted to marijuana pursuant to the Drug Equivalency Table, these 25,000 units of anabolic
steroids are equivalent to 25 kilograms of marijuana, resulting in an agreed-upon base offense level
of 16 pursuant to Section 2Dl.l(c)(15). However, they will ultimately be bound by the U.S.S.G.
drug level determined by the court at the sentencing hearing.

       4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea

agreement will be used for the purpose of determining defendant's guilt, any applicable statutory

minimum sentences, and defendant's advisory sentencing range under the United States

Sentencing Guidelines ("U.S.S.G."), including the calculation of the defendant's offense level in

accordance with U.S.S.G. § 1B1.3(a)(2). The defendant acknowledges, understands and agrees

that the conduct charged in any dismissed counts of any of the indictments as well as all other

uncharged related criminal activity may be considered as "relevant conduct" pursuant to U.S.S.G.

§ 1B 1.3(a)(2) in calculating the offense level for the charges to which defendant is pleading guilty.


                                                  3




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 3 of 15
       5.    Statutory Penalties.    The defendant understands that upon pleading guilty to the

Count Two of the Indictment as outlined herein, charging a violation of 18 U.S.C. §§ 371 and 545

and 21 U.S.C. § 331(c) and 333(a)(2), Conspiracy to Violate the Food, Drug, and Cosmetics Act,

the maximum penalty the Court may impose is 10 years imprisonment and a $250,000.00 fine,

with not more than three (3) years of supervised release to follow any term of imprisonment

imposed.

       The defendant understands that for each count of conviction the Court shall impose a $100

mandatory special assessment which must be paid in full prior to sentencing in this case. Failure

to timely pay said assessment can result in the Government seeking a continuance of the sentencing

until it is paid OR, in the alternative, the Government can consider the failure to timely pay it as a

violation of this plea agreement and seek to have this agreement voided.

       6. Sentencing Procedures. The defendant acknowledges, understands and agrees to the

following:

              a. in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however, are advisory in nature, and the
       Court may impose a sentence either less than or greater than the defendant's
       applicable Guidelines range, and may impose either concurrent sentences or
       consecutives sentences;

              b. the Court will determine the defendant's applicable Sentencing
       Guidelines range at the time of sentencing;

              c. in addition to a sentence of imprisonment, the Court shall impose a term
       of supervised release of not less than three (3) years;

              d. if the defendant violates a condition of supervised release, the Court
       may revoke that supervised release and impose an additional period of
       imprisonment without credit for time previously spent on supervised release. In
       addition to a new term of imprisonment, the Court also may impose a new period
       of supervised release;

               e. the Court may impose any sentence authorized by law, and may impose

                                                  4




           Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 4 of 15
       those sentences concurrently or consecutively, and may impose a sentence that is
       outside of, or departs from, the applicable Sentencing Guidelines range;

                 f. any sentence of imprisonment imposed by the Court will not allow for
       parole;

              g. the Court is not bound by any recommendation regarding the sentence
       to be imposed or by any calculation or estimation of the Sentencing Guidelines
       range offered by the parties or the United States Probation Office;

              h. the defendant may not withdraw this guilty plea solely because of the
       nature or length of any sentence imposed by the Court;

       7. Government's Agreements. Based upon evidence in its possession at this time, the

United States agrees, as part of this plea agreement, agrees not to bring any additional charges

against defendant for any federal criminal offenses related to the charges defendant has pled to

herein for which it has venue and which arose out of the defendant's conduct described above.

       The defendant recognizes that the United States' agreement to forego prosecution of all of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement and the limitations set out herein. If the defendant

breaches this plea agreement, the United States retains the right to proceed with the original

charges and any other criminal violations established by the evidence. The defendant expressly

waives any right to challenge the initiation of the dismissed or additional charges against defendant

if defendant breaches this agreement. The defendant expressly waives any right to assert a statute

of limitations defense if the dismissed or additional charges are initiated against defendant

following a breach of this agreement. The defendant further understands and agrees that if the

Government elects to file additional charges against defendant following breach of this plea

agreement, defendant will not be allowed to withdraw this guilty plea.

       The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence, or a

                                                 5




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 5 of 15
conspiracy to commit any such acts of violence. Further, the defendant understands that this

agreement does not foreclose prosecution of any criminal activity of which the United States has

no knowledge. The defendant understands and agrees that if the Government files additional

charges against defendant for one of these exceptions, defendant will not be allowed to withdraw

this guilty plea.

        8. Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct.    This may include information concerning the background, character, and

conduct of the defendant, including the entirety of defendant's criminal activities. The defendant

understands these disclosures are not limited to the counts to which defendant has pleaded guilty.

        The United States may respond to comments made or positions taken by the defendant,

defendant's counsel or anyone on defendant's behalf and to correct any misstatements or

inaccuracies. The United States further reserves its right to make any recommendations it deems

appropriate regarding the disposition of this case, subject only to any limitations set forth in this

plea agreement. The United States and the defendant expressly reserve the right to speak to the

Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal Rules of Criminal

Procedure.

        9.   Withdrawal of Plea.     Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant's plea of guilty and

its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored

to their pre-plea agreement positions to the fullest extent possible. However, after the plea has

been formally accepted by the Court, the defendant may only withdraw these pleas of guilty if the

Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting


                                                 6




          Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 6 of 15
the withdrawal. The defendant understands that if the Court accepts defendant's pleas of guilty

and this plea agreement but subsequently imposes a sentence that is outside the defendant's

applicable Sentencing Guidelines range, or imposes a sentence that the defendant does not expect,

like or agree with, that will not permit defendant to withdraw these pleas of guilty.

       10. Agreed Guidelines Applications. With respect to the application of the Sentencing

Guidelines to this case, the parties stipulate and agree as follows:

              a. The Sentencing Guidelines do not bind the Court and are advisory in
       nature. The Court may impose a sentence that is either above or below the
       defendant's applicable Guidelines range and may impose that sentence concurrently
       or consecutively;

               b. As to Count Two, the applicable Guidelines section for the offense of
       conviction is U.S.S.G. § 2N2.2, which provides for a not less than a base offense
       level 16;

               c. While the parties recognize there might be specific aggravating or
       mitigating U.S.S.G. applications applicable to this defendant, the parties elect to
       address at the sentencing hearing any found by the pre-sentence report or Court and
       agree to be bound by the Court' s determination following the sentencing hearing;

               d. The defendant appears to have admitted his guilt and accepted
       responsibility for his actions, and by timely notifying authorities of the intention to
       enter a plea of guilty has thereby permitted the Government to avoid preparing for
       trial and permitted the Government and the Court to allocate their resources
       efficiently. Therefore, the defendant appears entitled to a three-level reduction
       pursuant to § 3El.l(b) of the Sentencing Guidelines and the Government, at the
       time of sentencing, will make a motion with the Court to that effect unless the
       defendant (1) fails to abide by all of the terms and conditions of this plea agreement
       and any pretrial release orders; or (2) attempts to withdraw this guilty plea; or
       (3) violates the law; or (4) otherwise engages in conduct inconsistent with an
       acceptance of responsibility;

               e. There is no agreement between the parties regarding the defendant's
       criminal history category, including whether said criminal history or lack of
       criminal history otherwise affects the ultimate guideline or statutory sentence. The
       parties agree that the Court will determine the applicable criminal history category,
       and any statutory or guideline sentence increase or decrease as a result thereof, after
       receipt of the presentence investigation report prepared by the United States
       Probation Office;


                                                  7




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 7 of 15
                f. The defendant understands that the estimate of the parties with respect
        to the Guidelines computation set forth in the subsections of this paragraph does
        not bind the Court or the United States Probation Office with respect to the
        appropriate Guidelines levels. Additionally, the failure of the Court to accept these
        stipulations will not, as outlined in Paragraph 9 of this plea agreement, provide the
        defendant with a basis to withdraw this plea of guilty;

               g. The parties agree to seek a sentence within the ultimately determined
       Guideline range based on any good faith sentencing arguments they care to make
       and that do not violate any other agreements herein. The sentencing argument
       agreements by the parties are not binding upon the Court or the United States
       Probation Office and the Court may impose any sentence authorized by law,
       including any sentence outside the applicable Guidelines range that is not
       ''unreasonable'';

               h. The defendant consents to judicial fact-finding by a preponderance of
       the evidence for all issues pertaining to the determination of the defendant's
       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination
       beyond a reasonable doubt of all facts used to determine and enhance the sentence
       imposed, and waives any right to have those facts alleged in the Criminal
       Information. The defendant also agrees that the Court, in finding the facts relevant
       to the imposition of sentence, may consider any reliable information, including
       hearsay; and,

               i. The defendant understands and agrees that the factual admissions
       contained in Paragraph 3 or other places within this plea agreement, and any
       admissions made during the defendant's plea colloquy, support the imposition of
       the agreed-upon Guidelines calculations contained in this agreement.

       11. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

       12.   Change in Guidelines Prior to Sentencing.          The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any


                                                 8




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 8 of 15
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement

voidable by the United States at its option. If the Government exercises its option to void the plea

agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

        13. Government's Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

              a. oppose or take issue with any position advanced by defendant, or
       anyone on behalf of the defendant, at the sentencing hearing which might be
       inconsistent with the provisions of this plea agreement;

              b. comment on the evidence supporting the charges in the Criminal
       Information;

              c. oppose any arguments and requests for relief the defendant, or anyone
       on defendant's behalf, might advance on an authorized appeal from the sentences
       imposed and that the United States remains free on appeal or collateral proceedings
       to defend the legality and propriety of the sentence actually imposed, even if the
       Court chooses not to follow any recommendation made by the United States; and

                 d. oppose any post-conviction motions for reduction of sentence, or other
       relief.

       14. Waiver of Constitutional Rights. The defendant, by pleading guilty, acknowledges

that defendant has been advised of, understands, and knowingly and voluntarily waives the

following rights:

                 a. the right to plead not guilty and to persist in a plea of not guilty;

               b. the right to be presumed innocent until defendant's guilt has been
       established beyond a reasonable doubt at trial;

               c. the right to a jury trial, and at that trial, the right to the effective
       assistance of counsel;

               d. the right to confront and cross-examine the witnesses who testify
       against the defendant at trial;

                 e. the right to compel or subpoena witnesses to appear on defendant's

                                                    9




          Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 9 of 15
        behalf at trial; and

               f. the right to remain silent at trial, in which case that silence may not be
        used against defendant.

        The defendant understands that by pleading guilty, he waives or gives up those rights and

that there will be no trial. The defendant further understands that if he pleads guilty, the Court

may ask questions about the offense or offenses to which defendant pleaded guilty, and if the

defendant answers those questions under oath and in the presence of counsel, those answers may

later be used against defendant in a prosecution for perjury or making a false statement. The

defendant also understands he has pleaded guilty to a felony offense and, as a result, will lose the

right to possess a firearm or ammunition and might be deprived of other rights, such as the right

to vote or register to vote, hold public office, or serve on a jury.

        15. Waiver of Appellate and Post-Conviction Rights.

                a. The defendant acknowledges, understands and agrees that by his
        unconditional plea of guilty pursuant to this plea agreement he waives the right to
        appeal or collaterally attack a finding of guilt or denial of a motion to withdraw his
        guilty pleas following the acceptance of his pleas of guilty pursuant to this plea
        agreement, except on grounds of (1) ineffective assistance of counsel; or
        (2) prosecutorial misconduct.

               b. The defendant expressly waives the right to appeal any sentence,
       directly or collaterally, on any ground except claims of (1) ineffective assistance of
       counsel; (2) prosecutorial misconduct; or (3) an illegal sentence, which specifically
       means a sentence imposed in excess of the statutory maximum. A misapplication
       of the Sentencing Guidelines, an abuse of discretion, or the imposition of an
       unreasonable sentence, is not an " illegal sentence" and therefore are not appealable.
       However, if the United States exercises its right to appeal the sentence imposed as
       authorized by 18 U.S.C. § 3742(b), the defendant is released from this waiver and
       may, as part of the Government's appeal, cross-appeal the sentence as authorized
       by 18 U.S.C. § 3742(a) with respect to any issues that have not been stipulated to
       or agreed upon in this agreement.

        16. Financial Obligations. By entering into this plea agreement, the defendant states

an understanding of and agrees to the following financial obligations:



                                                   10




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 10 of 15
       a. The United States may use the Federal Debt Collection Procedures Act
and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine or costs.

         b. The defendant will fully and truthfully disclose all assets and property
in which defendant has any interest, or over which the defendant exercises control
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant's disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution or fine or costs order in full.

        c. Within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S . Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant's acceptance of
responsibility.

        d. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets, restitution, fines, or costs.

        e. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to defendant to assist the USAO in evaluating the defendant's ability to
satisfy any financial obligations imposed as part of the sentence.

        f. The defendant understands that a Special Assessment will be imposed
as part of the sentence in this case. The defendant promises to pay the Special
Assessment of $100.00 by submitting a satisfactory form of payment to the Clerk
of the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk's receipt as evidence of fulfillment of this
obligation at the time of sentencing.

        g. The defendant certifies that no transfer of assets or property has been
made for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor
(3) hindering efforts of the USAO to enforce such financial obligations.
Moreover, the defendant promises that no such transfers will be made in the future.

        h. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,

                                         11




 Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 11 of 15
        the United States may at its option: (1) choose to be relieved of its obligations under
        this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
        restitution, and fines imposed by any criminal or civil judgment, and also collect
        100% (one hundred percent) of the value of any previously undisclosed assets.
        The defendant agrees not to contest any collection of such assets. In the event the
        United States opts to be relieved of its obligations under this plea agreement, the
        defendant's previously entered pleas of guilty shall remain in effect and cannot be
        withdrawn.

        17. Waiver ofFOIA Request. The defendant waives any and all rights, whether

asserted directly or by a representative, to request or receive from any department or agency

of the United States any records pertaining to the investigation or prosecution of this case

including, without limitation, any records that may be sought under the Freedom of

Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

        18. Waiver of Claim for Attorney's Fees. The defendant waives any and all claims

under the Hyde Amendment, 18 U.S .C. § 3006A, for attorney's fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

        19. Defendant Will Surrender to Custody at the Plea. The defendant understands that

the crime to which he is pleading in Count 3 of the Criminal Information is a controlled substance

offense for which a maximum term of imprisonment of ten years or more is prescribed.

Accordingly, pursuant to 18 U.S.C. § 3143(a)(2), the Court shall detain the defendant after he

pleads guilty to the offense. The defendant hereby agrees not to contest his detention immediately

after the guilty plea, to surrender to the custody of the U.S. Marshals at that time, and to make no

attempts to be released from custody pending sentencing or transfer to the Bureau of Prisons

following sentencing.

       20. Defendant's Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

                                                 12




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 12 of 15
defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

will be released from its obligations under this agreement. The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw this plea of guilty.

       The defendant also understands and agrees that in the event this plea agreement is violated,

all statements made by the defendant to law enforcement agents subsequent to the execution of

this plea agreement, any testimony given by defendant before a grand jury or any tribunal or any

leads from such statements or testimony shall be admissible against defendant in any and all

criminal proceedings.     The defendant waives any and all rights under the United States

Constitution, any statute, Rule 11 (f) of the Federal Rules of Criminal Procedure, Rule 410 of the

Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any

statements made by defendant subsequent to this plea agreement.

       21.   Defendant's Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel.    The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement. The defendant further acknowledges that no threats or promises, other than

the promises contained in this plea agreement, have been made by the United States, the Court, his

attorney or any other party to induce him to enter this plea of guilty.

       22. No Undisclosed Terms. The United States and defendant acknowledge and agree

that the above-stated terms and conditions, together with any written supplemental agreement that

might be presented to the Court in camera, constitute the entire plea agreement between the parties,

and that any other terms and conditions not expressly set forth in this agreement or any written


                                                 13




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 13 of 15
supplemental agreement do not constitute any part of the parties' agreement and will not be

enforceable against either party.

         23.     Standard of Interpretation.     The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

                                               JEFFERSON SESSIONS
                                               United States Attorney General

Dated:    3/ 1~,    2018                       /s/ Sirena Miller Wissler
                                               Sirena Miller Wissler
                                               Special Atty to the United States Attorney General




        I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines and any statutory
minimums. I have read this plea agreement and carefully reviewed every part of it with my
attorney. I understand this plea agreement and I voluntarily agree to it.



Dated:   3/jl-    , 2018                       /s/

                                                          Defendant




       I am the attorney for defendant FRANCISCO A. SHERMAN, and I have fully explained
to him all his rights with respect to the offenses charged in the Indictment. Further, I have
reviewed with him the provisions of the Sentencing Guidelines and any statutory minimum
sentences which might apply in this case. I have carefully reviewed every part of this plea

                                                     14




          Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 14 of 15
agreement with the defendant. To my knowledge and belief, the decision by FRANCISCO A.
SHERMAN to enter into this plea agreement is an informed and oluntary one.



Dated:              , 2018             Isl




                                         15




         Case 4:16-cr-00348-GAF Document 69 Filed 03/13/18 Page 15 of 15
